                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                                      Case No. 09-67842
         JOHN C. MENTAG,                                              Chapter 7
                                                                      Hon. Walter Shapero
            Debtor.
_____________________________/

    ORDER IN CONNECTION WITH OPINION ON MOTION FOR RELIEF FROM
       STAY AND DISTRICT COURT REMAND AND RELATED MATTERS

         For the reasons set forth in the opinion entered contemporaneously herewith in relation to

18231 Beverly Rd., Beverly Hills, Michigan;

         IT IS HEREBY ORDERED that GMAC Mortgage LLC has, and has had, proper standing

throughout these motion(s) for relief proceedings, to pursue said motions, and is entitled to do so;

         IT IS FURTHER HEREBY ORDERED that GMAC Mortgage LLC’s motion(s) for relief

from the automatic stay and/or any other applicable statutory or court stay orders are granted,

effective as of the date hereof; and GMAC Mortgage LLC is thus hereafter free to exercise whatever

state court rights and remedies it may have in, and related to, the said property.
                                                  .



Signed on May 25, 2012
                                                           /s/ Walter Shapero
                                                       Walter Shapero
                                                       United States Bankruptcy Judge




 09-67842-wsd        Doc 134     Filed 05/25/12       Entered 05/25/12 14:04:28      Page 1 of 1
